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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------x
                                       :
UNITED STATES OF AMERICA               :
                                       :
          -against-                    :                      ORDER
                                       :
     SKENDER CAKONI                    :
                                       :
                                                         1:10-cr-464-GHW-7
                                       :
                                       :                     Docket #
---------------------------------------x




   Gregory H. Woods
                               , DISTRICT JUDGE:
       Judge's Name


The C.J.A. attorney assigned to receive cases on this day,

    DONALD YANNELLA                  is hereby ordered to assume

representation of the defendant in the above captioned

matter, NUNC-PRO-TUNC                       .




                                SO ORDERED.




                                      UNITED STATES DISTRICT JUDGE




Dated: November 9, 2020
New York, New York
